Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   Case No. ___________________

  DOLORES CALICCHIO,

                     Plaintiff,
                                                                   DEMAND FOR JURY TRIAL
         vs.

  OASIS OUTSOURCING GROUP
  HOLDINGS, L.P. and PAYCHEX NORTH
  AMERICA INC.,

                     Defendants.

  __________________________________/

                                            COMPLAINT

         Plaintiff Dolores Calicchio (“Plaintiff”), by and through undersigned counsel, as and for

  her complaint against Defendant Oasis Outsourcing Group Holdings, L.P. and Defendant Paychex

  North America Inc. (collectively “Defendants”) alleges as follows:

                                    NATURE OF THE ACTION

             1.   Plaintiff brings this action against Oasis Outsourcing Group Holdings, L.P. and

  Paychex North America Inc. for violation of the Equal Pay Act, 29 U.S.C. § 206, gender

  discrimination in violation of Title VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000e) (“Title

  VII”) and retaliation for complaining about gender discrimination in violation of Title VII.

                                              PARTIES

         2.       Plaintiff is an accomplished Human Resources executive, residing in the State of

  Florida.

         3.       Defendant Oasis Outsourcing Group Holdings, L.P. (“Oasis”) is formed under the

  laws of the State of Florida. Oasis is a leading Professional Employer Organization (“PEO”),

  providing outsourced human resources, employee benefits, payroll and risk management services.
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 2 of 12



         4.      Defendant Paychex North America Inc. (“Paychex”) is incorporated under the laws

  of the State of Delaware with its principal place of business and headquarters located in Rochester,

  New York. Paychex is a leading provider of outsourced payroll, benefits, human resources, and

  insurance services.

          5.     In December of 2018, Paychex acquired Oasis through a merger valued at

  approximately $1.2 billion.     Following the merger, Oasis became branded as “A Paychex

  Company.”

                                  JURISDICTION AND VENUE

          6.     This Court has federal question jurisdiction over Plaintiff’s claims pursuant to 28

  U.S.C. §§ 1331 and 1343.

          7.     Venue is proper in the United States District Court for the Southern District of

  Florida under 28 U.S.C. § 1391(b)-(c) because a substantial part of the events or omissions giving

  rise to Plaintiff’s claims occurred within this district and Defendant Oasis maintains its

  headquarters and principal place of business within the district.

                                ADMINISTRATIVE PROCEDURES

          8.     Plaintiff has filed a charge with the Equal Employment Opportunity Commission

  (“EEOC”) for discrimination and retaliation.

          9.     Any and all other prerequisites to the filing of this suit have been met.

                              FACTS COMMON TO ALL COUNTS

         10.     Plaintiff began working for Oasis in January 2017. Plaintiff has over 15 years of

  experience holding executive level human resources positions. She was hired by Oasis to be its

  Chief Human Resources Officer (“CHRO”) and an Executive Vice President (“EVP”). She held

  those titles throughout her employment at Oasis and reported throughout to the Chief Executive

  Officer, Mark Perlberg (“CEO”).


                                                   2
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 3 of 12



         11.     Perlberg was directly involved in hiring Plaintiff. He told her that her skills were a

  particularly good match for Oasis at that juncture because the company was looking to continue to

  grow. He said the CHRO role would be essential in leading the company's acquisition of talent,

  including increasing the number of sales representatives in order to significantly impact organic

  sales for increased revenue streams. She, along with recently hired Chief Operating Officer

  (“COO”), would be responsible for critical company growth areas including improving retention

  of key employees, training employees for improved client satisfaction, and EBITDA growth.

         12.     This much of Perlberg’s representations turned out to be true. Plaintiff did this and

  much more. In addition to the above, Plaintiff was responsible for integrating acquired companies

  and its employees into the Oasis culture, process, policy, and function, rightsizing and organization

  effectiveness and efficiency. An equally important, and critical function of Plaintiff’s role, was

  preparing the company to position itself to be acquired (which it ultimately was, by Paychex) and

  increasing the company’s value to potential buyers in accomplishing strategic goals.

         13.     Plaintiff performed these functions very well. As a result, she became an essential

  member of the Senior Strategic Team and heavily involved in the due diligence work required to

  sell the company. Specifically, in her role as CHRO/EVP, she was one of the top 4 executives in

  the organization. She, along with the CEO, Chief Financial Officer (“CFO”), and the COO, made

  up the Senior Strategic Team. Plaintiff was the only woman of the group. Further, she was one of

  only three executives (and the only woman) to report directly to CEO Perlberg. Perlberg had her

  report directly to him as he understood the importance of the CHRO role given the company’s

  twin goals of organic growth and driving up value to potential acquirers.

         14.     In the hiring process, Perlberg also told Plaintiff that her offer would be on par with

  the COO. He said that when she came on board, she would see that she and the COO would be

  paid comparatively. This turned out to be false.


                                                     3
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 4 of 12



         15.     In fact, Plaintiff was compensated less than her male peers on every count. She

  was paid less in salary and in bonus and received less equity interest.

         16.     To take one example, the COO, a man, received $450,000 in bonus compensation

  for 2017 and 2018. Plaintiff received less than half that amount for the same period.

         17.     The disparity is even more glaring with respect to equity grants. Oasis issued

  Incentive Common Unit awards to certain employees (the “Units”). Through these Unit grants,

  the employees would earn a vested right to certain compensation upon, among other things, a sale

  of Oasis to an acquirer such as Paychex. Unsurprisingly, the more Units awarded to an employee,

  the more cash that employee would receive as a result of the sale of Oasis.

         18.     Plaintiff was granted less than half the number of Units granted to her male peer,

  the COO. Upon Oasis’ sale to Paychex this resulted in the COO receiving $1,964,775 more in

  cash compensation from the Units than Plaintiff.

         19.     Furthermore, and unbeknownst to Plaintiff, the COO was also granted a special

  severance benefit associated with the sale of Oasis resulting in an additional severance benefit

  payment to him of $710,610. This benefit was granted in December of 2018 shortly before the

  close of the sale of Oasis to Paychex. The COO was not the only employee to receive a special

  severance benefit. He was one of six men to receive such benefit. All six men receiving a special

  severance benefit were members of the executive team, just like Plaintiff. Yet Plaintiff, an equally

  important member of the executive team, a member of the Sr. Strategic Team (and the only

  female), and the only Chief Officer/EVP reporting to the CEO, who was essential to the sale of

  the company, was excluded from receiving any special severance or other payment.

         20.     All told, between salary, bonus, Units and special severance benefits, the COO was

  paid $2,951,275 more than Plaintiff over the same two-year period.




                                                   4
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 5 of 12



         21.       There is no question that the work performed by Plaintiff was at the very least

  substantially equal to that performed by the COO. Both Plaintiff and the COO were the leaders

  and highest ranking employees of their respective departments. They were hired by Oasis within

  4 months of each other and have comparable work and educational experience. Both reported into

  the CEO and worked out of Oasis’ West Palm Beach, Florida headquarters. They also shared the

  same common core of duties. For example, one of the key strategic goals of the company in 2018-

  2019 was “core organic growth” i.e., growth through sales and marketing, better client service and

  therefore retention, and improved risk management. The members of the Sr. Strategic team

  mentioned above (the CEO, CFO, COO, and Plaintiff) the primary executives responsible for these

  initiatives. In particular, Plaintiff and the COO were equally accountable to ensure these initiatives

  were met.

         22.       In addition, both Plaintiff and the COO (as well as other executive team leaders)

  were tasked with improving “culture and accountability” – another key strategic growth area cited

  by the company for 2018. This included improving Oasis’ operating model, regionalizing the

  company, increased employee engagement, and increasing return on investment accountability.

  Both Plaintiff and the COO were responsible for this key company initiative in approximately

  equal measure.

         23.       Another area where Plaintiff and the COO shared common duties was through

  acquisition integration. As noted above, Oasis sought to acquire smaller PEO companies to make

  itself attractive to larger acquirers. Plaintiff was responsible for overseeing such integrations on

  the human resources side, i.e., policies, practices, payroll, etc. Plaintiff accompanied the CEO on

  the initial communication with the employees at the time of the acquisition and participated with

  the CEO in discussions of retention and separation of key personnel. The COO was not part of




                                                    5
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 6 of 12



  the acquisition activities or purchase. Later, the responsibility of integrating the operations of

  smaller PEO companies rolled up through the COO.

         24.     Moreover, in many ways Plaintiff’s position held a more extensive purview and

  responsibilities than the COO. Plaintiff was one of only three EVPs in the company. The COO

  was not. Plaintiff was one of three top executives charged with leading the company through the

  process of its sale to Paychex. The COO was not among that group.

         25.     Particularly telling is the fact that when the sale to Paychex appeared to be faltering,

  the CEO and the CFO did not call upon the COO to fix the problem. They called on Plaintiff – on

  Thanksgiving Day no less.

         26.     On the eve of Thanksgiving 2018, Plaintiff received a call at home from CEO

  Perlberg. He told her that Paychex was not prepared to move to closing the deal because Oasis

  had not provided satisfactory information on key components (outside of Plaintiff’s purview).

  Plaintiff went to the office that night and worked up additional information for Paychex. The next

  day, Thanksgiving, Oasis’ CFO called Plaintiff at home to say that Oasis still had a problem and

  asked her to work with the Controller and other analyst type personnel. Once again, Plaintiff left

  her family and spent Thanksgiving Day and the next morning to go to the office and prepare

  information for Paychex. The information was delivered by 9:30 a.m. on the Friday after

  Thanksgiving and the deal moved to closing.

         27.     Further, Plaintiff was instrumental in integrating the companies Oasis had acquired.

  This was no small feat as it required integrating seven acquired entities into Oasis. Plaintiff was

  part of the team for integrating the hundreds of thousands of client employees the company served

  into the infrastructure of Oasis. Without retaining essential employees, Oasis would have lost

  essential clients. There is no doubt that the successful acquisition and integration spree Oasis

  embarked on in the two years leading up to its sale to Paychex at the end of 2018 is what drove


                                                    6
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 7 of 12



  the lion’s share of the value. When Paychex acquired Oasis, the deal was valued at in excess of

  $1.2 billion.

          28.     Not only was the COO receiving more in compensation than Plaintiff, it turns out

  that other men were receiving more compensation even though they held positions lower than

  Plaintiff’s position. At least two other male executives -- the Chief Marketing Officer (“CMO”)

  and Chief Information Officer (“CIO”) -- were compensated more highly than Plaintiff in bonus

  and Units even though they did not report to the CEO. And, again, there is no question that the

  work performed by Plaintiff was at least substantially equal to that of the CIO, and substantially

  higher than that performed by the CMO. These men, like Plaintiff, were heads of their respective

  departments and although with narrower overall responsibilities and were jointly responsible for

  key strategic initiatives common to Plaintiff, i.e., core organic growth (the CMO) and culture and

  accountability (the CIO).

          29.     Moreover, Oasis paid cash bonuses to the CIO and the Controller (both male) in

  connection with the due diligence process and ultimate sale of Oasis to Paychex. These bonuses

  were paid out of a pool intended to go to non-Unit holders. Both the CIO and the Controller held

  Units, yet were still paid bonuses out of this pool. Plaintiff, who also played a key role with the

  Controller in the sale, working day and night and through Thanksgiving, and whose performance

  with respect to the sale far exceeded the CIO’s, received no additional bonus from this pool.

          30.     Defendants’ unfair treatment of Plaintiff did not end with its Equal Pay violations.

  When Plaintiff became aware of the substantial inequity, she raised the issue directly with CEO

  Perlberg in a one on one conversation. Perlberg became angry with Plaintiff telling her in no

  uncertain terms that he thought it was unprofessional for her to raise the issue and that she should

  be grateful for the way he had treated her. Plaintiff raised the issue again with Perlberg in a

  subsequent discussion, but was met again with inaction.


                                                   7
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 8 of 12



         31.      Shortly following these discussions with Perlberg, Paychex went about the task of

  considering Oasis employees, whose positions would be eliminated as a result of the merger, for

  other positions at Paychex or Oasis. Plaintiff had expressed her interest in such a position. Shortly

  after her complaint to Perlberg discussed above, Defendants announced that an employee with no

  Human Resources experience prior to joining Oasis would be filling the role of Director of

  Centralized Services. This position was client-facing role focused on human resources and

  benefits services – a position for which Plaintiff was unquestionably well-qualified. Tellingly,

  Defendants did not include Plaintiff as a recipient of this announcement. The fact is that

  Defendants did not even make Plaintiff aware that the position was open much less invite her or

  include her in interviewing for the position. This despite the fact that Defendant Paychex had

  pledged to consider Oasis employees for such positions.

         32.      Plaintiff again raised her concern about this treatment to CEO Perlberg, as well as

  several Paychex executives. Yet, again, nothing happened. No investigation was conducted.

  Indeed, the Paychex Director of Recruiting could not even explain to Plaintiff why she was not

  considered for the position but said she would look into it and follow up with Plaintiff. She never

  did. Indeed, even when Plaintiff followed up again on the issue, she received no response and her

  employment was terminated on May 31, 2019.

                                           COUNT I
                               (VIOLATION OF THE EQUAL PAY ACT)

         33.      Plaintiff hereby incorporates by reference Paragraphs 1 to 32 as though fully set

  forth herein.

         34.      Plaintiff is a woman.

         35.      Plaintiff performed equal work in a job requiring equal skill, effort, and

  responsibility as certain men employed by Oasis, including but not limited to the COO, and

  performed such job under similar working conditions.

                                                   8
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 9 of 12



          36.     Oasis treated Plaintiff’s compensation differently than it treated the compensation

  of men, including, but not limited to, Plaintiff’s salary, bonus and Units.

          37.     Oasis did not treat Plaintiff’s compensation differently based (i) a seniority system;

  (ii) a merit system; (iii) a system which measures earnings by quantity or quality of production; or

  (iv) a differential based on any other factor other than sex.

          38.     Plaintiff suffered damages as a result of Oasis’ violation including the loss of salary,

  bonus and Units.

          39.     By reason of Oasis’ conduct as alleged herein, Plaintiff is entitled to all remedies

  available under the Equal Pay Act, including but not limited to compensatory damages for lost

  salary, bonus and Units in the form of back pay, interest, attorneys' fees, and liquidated damages

  in an amount equal to 100% of the compensatory damages.

          40.     Defendant Paychex is jointly liable as Oasis successor in interest.

                                          COUNT II
                        (GENDER DISCRIMINATION VIOLATION OF TITLE VII)

         41.      Plaintiff hereby incorporates by reference Paragraphs 1 to 32 as though fully set

  forth herein.

         42.      Plaintiff is a member of a protected class (female).

         43.      Plaintiff was qualified for her job and performing it satisfactorily.

         44.      Plaintiff suffered an adverse employment action. Among other things, Plaintiff’s

  employment was terminated and she was denied opportunities for further employment following

  Paychex’s acquisition of Oasis due to Defendants’ discrimination against Plaintiff. She was also

  denied, salary, bonus and Units by Oasis.

         45.      Plaintiff’s gender was at a minimum a motivating factor in Defendants’ adverse

  actions against Plaintiff.



                                                     9
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 10 of 12



        46.      Defendants’ stated reason for the adverse action(s) is a pretext to hide gender

  discrimination.

        47.      Plaintiff suffered damages as a result of the Defendants’ violation including the loss

  of salary, bonus and Units.

        48.      Plaintiff further suffered emotional distress and humiliation. Further, Defendants

  acted with malice and/or reckless disregard for Plaintiff’s rights thus rendering punitive damages

  appropriate.

        49.      By reason of the Defendants’ conduct as alleged herein, Plaintiff is entitled to all

  remedies available under Title VII, including but not limited to lost wages and benefits in the form

  of back pay, front pay in lieu of reinstatement, interest, attorneys' fees, interest and costs,

  compensatory damages, emotional distress damages and punitive damages, all in amounts to be

  determined at trial.

                                           COUNT III
                             (RETALIATION IN VIOLATION OF TITLE VII)

         50.     Plaintiff hereby incorporates by reference the preceding Paragraphs 1 to 32 as

  though fully set forth herein.

         51.     Plaintiff engaged in protected activity by, inter alia, complaining to Oasis and

  Paychex executives about gender discrimination and equal pay violations.

         52.     Defendants were aware of such protected activity because Plaintiff directly

  complained to their executives.

         53.     Because of Plaintiff’s protected activity, Oasis and Paychex took adverse

  employment actions against her, namely, refusing to consider her for other positions and

  terminating her employment.




                                                  10
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 11 of 12



         54.      Plaintiff suffered emotional distress and humiliation as a result of Defendants’

  conduct. Defendants’ conduct was engaged in with malice or reckless disregard for Plaintiff’s

  rights. Accordingly, punitive damages are warranted.

         55.      As a result of Defendants’ conduct, Plaintiff has suffered and is entitled to recover

  damages, including lost back wages and benefits, including the value of lost equity, lost future

  earnings and benefits, including the value of equity interests, compensatory damages for emotional

  distress, punitive damages, and attorneys’ fees and costs.

                                           PRAYER FOR RELIEF

         WHEREFORE, Plaintiff hereby prays for judgment against Defendants on all causes of

  action and for recovery as follows:

               a. Economic damages for past lost salary, bonus, Units and benefits and future lost

                  and benefits (including the value of equity interests) in an amount to be proven at

                  trial;

               b. Liquidated damages pursuant to statute;

               c. Damages for emotional distress and humiliation in an amount to be proven at trial;

               d. Punitive damages in an amount to be proven at trial;

               e. Prejudgment interest;

               f. Attorneys’ fees and costs pursuant to statute; and

               g. For such other relief as the Court may deem just and proper.

                                           JURY DEMAND
         Plaintiff demands a trial by jury of all issues triable by jury in this action.




                                                    11
Case 9:19-cv-81292-RAR Document 1 Entered on FLSD Docket 09/19/2019 Page 12 of 12




  Dated: September 19, 2019              Respectfully Submitted,

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                                       12
